Case 9:19-bk-11573-MB        Doc 149 Filed 09/04/19 Entered 09/04/19 15:13:31   Desc
                              Main Document     Page 1 of 5


O’MELVENY & MYERS LLP
Evan M. Jones
Darren L. Patrick
(pro hac vice applications pending)
400 South Hope Street, 18th Floor
Los Angeles, CA 90071-2899
Telephone: (213) 430-6000
Facsimile: (213) 430-6407
E-mail: ejones@omm.com

Gary Svirsky
Samantha M. Indelicato
(pro hac vice applications pending)
Seven Times Square
New York, New York 10036
Telephone: (212) 326-2000
Facsimile: (212) 326-2061
E-mail: gsvirsky@omm.com

GIBSON, DUNN & CRUTCHER LLP
Olivia Adendorff
2100 McKinney Avenue, Suite 1100
Dallas, TX 75201
Telephone: (214) 698-3100
Facsimile: (214) 571-2900
E-mail: oadendorff@gibsondunn.com

Attorneys for UBS AG, London Branch

                        UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF TEXAS, DALLAS DIVISION


In re:                                            Chapter 11

HVI Cat Canyon, Inc.,                             Case No. 19-32857-hdh11
        Debtor.


  OBJECTION OF UBS AG, LONDON BRANCH TO DEBTOR’S MOTION TO SELL
              PROPERTY KNOWN AS THE REDU PROPERTY




OMM_US:77152416.4
Case 9:19-bk-11573-MB            Doc 149 Filed 09/04/19 Entered 09/04/19 15:13:31                        Desc
                                  Main Document     Page 2 of 5


        UBS AG, London Branch (“UBS”), the senior secured creditor in this case owed over

$100 million, objects to the motion of HVI Cat Canyon, Inc. (the “Debtor”) for Authorization to

Sell Property Known as the REDU Asset by Private Sale (the “REDU Motion”).1 The REDU

Motion seeks expedited approval for the sale of property located in Orange County, California to

an individual who is apparently an insider of the Debtor, on a private basis and below the price

previously offered to the Debtor in pre-petition marketing. Under these circumstances, the sale

cannot be approved without more evidence that the proposed sale is the highest and best offer for

the property.

        1.      By the REDU Motion, the Debtor seeks to sell assets located in Orange County,

California by private sale to REDU Holdings, LLC (the “Buyer”) for $1.25 million.

        2.      UBS is informed and believes, and thereon avers that Buyer is owned or

controlled by Mr. William Kelleher. UBS is further informed and believes, and thereon avers

that Mr. Kelleher, as a consultant during the years from 2014-2016, operated the assets of

affiliated Debtor Rincon Island Limited Partnership prior to its entry into bankruptcy. This

suggests that Mr. Kelleher may well be an insider of the current Debtor. The law demands that a

sale of estate assets to an insider be subject to searching examination, which has not been

demonstrated here. See Old Cold, LLC, 558 B.R. 500, 516, 521 (B.A.P. 1st Cir. 2016); aff’d sub

nom. In re Old Cold LLC, 879 F.3d 376 (1st Cir. 2018). To be clear, not every person with any

connection to the Debtor’s affiliate is disqualified from purchase, but the matter demands careful

scrutiny. Id.




1
    UBS files this objection in an abundance of caution. A request to hear the REDU Motion on shortened time
    was filed in the SDNY Bankruptcy Court at docket 97-1. It does not appear that request was acted upon, nor
    has the REDU Motion been filed for regular hearing. However, given potential confusion from the transfer to
    this Court, UBS files this Objection, and reserves the right to supplement at a later time.



OMM_US:77152416.4
Case 9:19-bk-11573-MB          Doc 149 Filed 09/04/19 Entered 09/04/19 15:13:31               Desc
                                Main Document     Page 3 of 5


        3.      Further, the REDU Motion seeks approval of a private sale without opportunity

for auction. It is fundamental that a sale of estate assets must be to the “highest and best buyer,”

Matter of VCR I, L.L.C., 922 F.3d 323, 327 (5th Cir. 2019), and recognized that this normally

demands an auction process. Id. at 326-27. Again, no adequate showing has been made as to

why an expedited private sale to a potential insider is required. The Debtor argues that sale will

obviate the need to post a bond, but it appears the Debtor’s own papers admit that any

responsible buyer can escape that requirement. The Debtor fails to explain why an apparent

administrative hearing, on a date now past, demands expedited sale without auction. While the

Debtor may not be able to operate REDU without posting a bond, that has been true for months.

If the REDU property is sold through an appropriate auction process, the bond obligation on the

Debtor will disappear.

        4.          UBS further is informed and believes, and thereon avers that the Debtor

undertook to market the REDU asset prepetition. At the time, the Debtor reported to UBS that it

had received several offers significantly higher and better than that now offered by Buyer, and

that Buyer had participated in that marketing effort. To the extent higher and better bids are

available, the Debtor must explain why the Court should approve the instant offer of Buyer.

        5.      At the moment the Debtor has no Court approved financial adviser or banker

qualified to broker a sale of the REDU asset. While the Debtor has filed an application to retain

Cappello Global, LLC and Camden Financial Services (d/b/a Cappello Global) (collectively,

“Cappello”) by separate objection UBS has demonstrated why that application is not well-taken.

Certainly the REDU asset should be sold, but it must be done in a properly managed process.




                                                 2
OMM_US:77152416.4
Case 9:19-bk-11573-MB          Doc 149 Filed 09/04/19 Entered 09/04/19 15:13:31             Desc
                                Main Document     Page 4 of 5


        5.      Finally, the Debtor has failed to meet any of the requirements for a sale free of

liens pursuant to Section 363(f). UBS as secured creditor with liens encumbering the REDU

asset does not at this time consent to sale free and clear.



        WHEREFORE, UBS requests that the Court deny approval of the REDU Motion.



Dated: September 4, 2019                            Respectfully submitted,

                                                    GIBSON, DUNN & CRUTCHER LLP

                                                    /s/ Olivia Adendorff
                                                    Olivia Adendorff
                                                    2100 McKinney Avenue, Suite 1100
                                                    Dallas, TX 75201
                                                    Telephone: (214) 698-3100
                                                    Facsimile: (214) 571-2900
                                                    E-mail: oadendorff@gibsondunn.com

                                                      - and –

                                                      O’MELVENY & MYERS LLP
                                                      Evan M. Jones
                                                      400 South Hope Street, 18th Floor
                                                      Los Angeles, CA 90071-2899
                                                      Telephone: (213) 430-6000
                                                      Facsimile: (213) 430-6407
                                                      E-mail: ejones@omm.com

                                                      Gary Svirsky
                                                      Times Square Tower
                                                      7 Times Square
                                                      New York, New York 10036
                                                      Telephone: (212) 326-2000
                                                      Facsimile: (212) 326-2061
                                                      E-mail: gsvirsky@omm.com

                                                      Attorneys for UBS AG, London Branch




                                                  3
OMM_US:77152416.4
Case 9:19-bk-11573-MB       Doc 149 Filed 09/04/19 Entered 09/04/19 15:13:31               Desc
                             Main Document     Page 5 of 5


                                    Certificate of Service

        I hereby certify that the foregoing document was served on September 4, 2019, by the
Electronic Case Filing system for the Bankruptcy Court for the Northern District of Texas, which
gives notice to all counsel of record and by U.S. Mail to the U.S. Trustee, 1100 Commerce
Street, Rm. 976, Dallas, Texas 75242.

Dated: September 4, 2019

                                               /s/ Olivia Adendorff
                                               Olivia Adendorff




                                               4
OMM_US:77152416.4
